Case 4:19-cv-00051-JHP-fhm Document 2 Filed in USDC ND/OK on 01/30/19 Page 1 of 65

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF OKLAHOMA

(1) TASHAYNA KING, )
)
Plaintiff, )
)
v. ) Case No. /7-CV- W051 -CVE- FHM
)
(1) BOARD OF COUNTY ) Removed from Tulsa County
COMMISSIONERS FOR THE ) District Court
COUNTY OF TULSA, ) Case No. CJ-2018-03245
) Judge Rebecca Brett Nightingale
(2) VIC REGALADO, in his official )
capacity as Sheriff of Tulsa County, )
)
(3) TURN KEY HEALTH CLINICS, LLC )
)
(4) JOHN DOES 1-10, )
)
Defendants. )
NOTICE OF REMOVAL

Pursuant to 28 U.S.C. §§ 1331, 1441, and 1446, Defendants, Board of County
Commissioners for the County of Tulsa (“BOCC”) and Vic Regalado, in his official capacity as
Sheriff of Tulsa County (“Regalado”), by and through their undersigned counsel, hereby remove
the above-captioned action currently pending in the District Court of Tulsa County, Oklahoma to
the United States District Court for the Northern District of Oklahoma. In support of this Notice
of Removal, BOCC and Regalado state as follows:

1. Plaintiff filed her Petition against Defendants in the District Court for Tulsa County,
Oklahoma, on August 3, 2018 (the “State Court Action”). A true and correct copy of the Petition

is attached hereto as Exhibit “A.”
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2. On January 15, 2019, BOCC and Regalado were each served with a Summons and
a copy of the Petition. True and correct copies of the Summons served on BOCC and Regalado
are attached hereto as Exhibits “B” and “C,” respectively.

3. In accordance with 28 U.S.C. § 1446(b), this Notice of Removal is timely filed
within thirty (30) days of the receipt by BOCC and Regalado of a copy of Plaintiff's Petition.

4. Plaintiff delivered to Defendant Turn Key Health Clinics, LLC a Dismissal Without
Prejudice on January 28, 2019. The Dismissal is not yet reflected on the state court docket as
being filed of record. A true and correct copy of the Dismissal Without Prejudice is attached as
Exhibit “D.”

5. Plaintiff issued discovery requests to BOCC and Turn Key Health Clinics, LLC,
which were served on Defendants on January 15, 2019, attached hereto as Exhibit “E.” No further
process, pleadings, or motions have been served, and no further proceedings have been had in this
action. Pursuant to LCvR 81.2, a copy of the state court case summary docket sheet is attached
hereto as Exhibit “F.”

6. BOCC and Regalado are filing a Status Report of Removed Action
contemporaneously with the filing of this Notice of Removal.

7. Removal of this action by BOCC and Regalado from the District Court of Tulsa
County, State of Oklahoma, to the United States District Court for the Northern District of
Oklahoma is proper under 28 U.S.C. § 1441(a), which permits removal of an action over which a
District Court of the United States would have original jurisdiction. The Court has original
jurisdiction over this action pursuant to 28 U.S.C. § 1331, which grants district courts original

jurisdiction of all civil actions “arising under the Constitution, treaties, or laws of the United
Case 4:19-cv-00051-JHP-fhm Document 2 Filed in USDC ND/OK on 01/30/19 Page 3 of 65

States.” 28 U.S.C. § 1331. Plaintiff asserts a claim under 42 U.S.C. § 1983. (Petition, Ex. A). This
claim arises under the laws of the United States.

8. Plaintiff also asserts claims for common law negligence and a violation of due
process. (See Petition, Ex. A, [J 24-30). Because Plaintiff's claims are part of the same case and
controversy giving rise to Plaintiffs claims under the 42 U.S.C. § 1983, they fall within the Court’s
supplemental jurisdiction pursuant to 28 U.S.C. § 1367(a).

9. In accordance with 28 U.S.C. § 1446(d), BOCC and Regalado are promptly filing
a copy of this Notice of Removal with the Clerk of the District Court for Tulsa County, Oklahoma.
BOCC and Regalado are also providing written notice to Plaintiff by serving this Notice of
Removal upon Plaintiffs counsel.

10. Venue is proper in this Court under 28 U.S.C. § 1441(a) because the Northern
District of Oklahoma embraces Tulsa County, the place where the action was pending prior to the
filing of this Notice of Removal.

WHEREFORE, Defendants BOCC and Regalado hereby remove the above-captioned
action from the District Court of Tulsa County, State of Oklahoma, to the District Court for the
Northern District of Oklahoma, and respectfully request that further proceedings be conducted in
this Court as provided by law.

DATED this 30th day of January, 2019.
Case 4:19-cv-00051-JHP-fhm Document 2 Filed in USDC ND/OK on 01/30/19 Page 4 of 65

Respectfully submitted,

/s/ Jo Lynn Jeter

Joel L. Wohlgemuth, OBA #9811
Jo Lynn Jeter, OBA #20252
Barrett L. Powers, OBA #32485
NORMAN WOHLGEMUTH CHANDLER JETER
BARNETT & Ray, P.C.

2900 Mid-Continent Tower

401 South Boston Ave.

Tulsa, OK 74103

(918) 583-7571

(918) 584-7846 facsimile

ATTORNEYS FOR DEFENDANTS,
BOARD OF COUNTY COMMISSIONERS
OF TULSA COUNTY, OKLAHOMA,
AND SHERIFF VIC REGALADO

CERTIFICATE OF SERVICE

I certify that on January 30, 2019, I caused a true and correct copy of this document to be
placed in the United States mail, first class postage fully pre-paid, addressed to:

Steven J. Terrill

J. Spencer Bryan

Bryan & Terrill Law, PLLC
9 East 4" Street, Suite 307
Tulsa, OK 74103

/s/ Jo Lynn Jeter
Jo Lynn Jeter

Case 4:19-cv-00051-JHP-fhm Document 2 Filedin-USDC ND/@kK-on 01/30/19 Page 5 of 65

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1040337245

IN THE DISTRICT COURT FOR TULSA COUNTY

STATE OF OKLAHOMA
(1) TASHAYNA KING, CJ -2018-0 3245
Paint Case No.: Rebeca Bratt Nightingale

(2) BOARD OF COUNTY
COMMISSIONERS FOR THE

COUNTY OF TULSA, eere COVED

(3) | VIC REGALADO, in his official

Capacity as Sheriff of Tulsa AUG - 38 2018
ty,
von DON NEWBERRY Oe Clerk
(4) | TURN KEY HEALTH STATE OF 0 COUNTY
CLINICS, LLC,

(5) | JOHN DOES 1-10,

Defendants.

PETITION

Plaintiff, Tashayna King, (“King”) for her cause of action against the above
named Defendants, would state as follows:

PARTIES, JURISDICTION, VENUE

1. Tashayna King is a resident and citizen of Tulsa County, Oklahoma.

2. The Board of County Commissioners for the County of Tulsa (BOARD’Yis
the legislative entity responsible for the actions of county employees. See 18 OS. § 4.
BOARD is liable under state law for the actions of county employees under theotry of -
respondeat superior consistent with the common law principles set ath by the

Oklahoma Supreme Court in Baker v. Saint Francis Hosp., 2005 OK 36, 126 P.3d 602,

EXHIBIT A
Case 4:19-cv-00051-JHP-fhm Document Filed in USDC ND/OK on 01/30/19 Page 6 of 65

made applicable to the BOARD here pursuant to the Oklahoma Supreme Court decision
in Bosh v. Cherokee County Governmental Building Authority, 305 P.3d 994 (Okla.
2013).

3. Vic Regalado, in his official capacity (‘REGALADO’), is the proper party
for federal constitutional claims arising out of the operational aspects of the Tulsa
County Jail and deprivations based upon official policies, procedures, customs, and
usages found therein.

4. Tum Key Health Clinics, LLC ("TURN KEY”) is an Oklahoma for-profit
corporation that is contracted to provide health care services to inmates at the David L.
Moss Criminal Justice Center (“DLMCJC’). TURN KEY generates profits for its
shareholders by taking in more money for healthcare than it pays out.

5. Within one year of the incident date, KING served BOARD with a Notice of
Tort Claim, and served TURN KEY with a Title 57 Notice. More than 90 days have
passed since notice was provided, and neither TURN KEY nor the BOARD has
resolved any of the claims asserted in this Petition.

6. JOHN DOES 1-10 include currently unidentified employees of BOARD in
charge of operating the jail and TURN KEY employees, agents, or representatives in
charge of providing medical care at the jail.

STATEMENT OF FACTS

7. TURN KEY has a business model that generates revenue through
governmental contracts. Through these contracts, TURN KEY assumes responsibility
for the government's obligation to provide Healthcare Services to people who are not

free to seek out healthcare for themselves.
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8. To obtain these contracts, TURN KEY submits bids to government
vendors like BOARD. If awarded the contract, TURN KEY provides Healthcare Services
in return for payment by the government vendor.

9. For TURN KEY to achieve positive revenue from its contract, TURN KEY
must provide Healthcare Services at a net profit.

10. To achieve net profits, TURN KEY implements policies, procedures,
customs, or practices to reduce the cost of Healthcare Services in a manner that will
maintain or increase its profit margin.

11. | There are no provisions in TURN KEY’s contract with BOARD creating or
establishing any mandatory minimum expenditure for the provision of Healthcare
Services.

12. TURN KEY'’s contract with BOARD incentivizes cost-cutting measures in
the delivery of Healthcare Services at the DLMCJC to benefit TURN KEY's
shareholders.

13. Records indicate that KING was booked into the DLMCJC on September
24, 2016.

14. Upon arrival at DLMCJC, KING disclosed to both correctional and medical
personnel that she was had a nephrostomy tube attached to her kidneys for a chronic
medical condition related to the functioning of her kidneys.

15. KING was processed into the DLMCJC and assigned to a general

population housing unit.
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16. Upon information and belief, KING’s classification and assignment to
general population was inappropriate in light of her chronic health needs, and further
violated well accepted classification standards.

17. | While in general population, KING’s nephrostomy tube was stepped on
and destroyed by another inmate. Due to the condition of the tube, KING was forced to
remove it.

18. KING made repeated requests for care and help for her medical condition
to both correctional and medical staff, but she was ignored.

19. TURN KEY and staff at DLMCJC knew of KING's prior diagnosis and
treatment history from the Intake Screening Form completed on September 24, 2016,
and from her disclosures to staff at DLMCJC, but they exhibited indifference to that
history in the classification and treatment withheld from her.

20. Immediately upon her release from DLMCJC, KING presented to the
emergency room at Hillcrest Medical Center (“Hillcrest") where it was discovered that
KING had just 8% function in her left kidney. KING was also diagnosed with sepsis and
an ureteropelvic junction obstruction.

21. Despite continuing treatment, KING’S condition continued to worsen and it
was determined that KING's left kidney was essentially non-functional.

22. On November 21, 2016, KING underwent a left nephrectomy and had her
left kidney entirely removed.

23. KING remained at Hillcrest until November 27, 2016.

STATEMENT OF CLAIMS

NEGLIGENCE
COMMON LAW
TURN KEY HEALTH CLINICS
Case 4:19-cv-00051-JHP-fhim Document 2 Filed in USDC ND/OK on 01/30/19 Page 9 of 65

24. KING hereby adopts and incorporates by reference the preceding
paragraphs as if fully set forth herein.

25. TURN KEY owed a duly of reasonable care in the management of KING’s
medical condition consistent with its contract.

26. TURN KEY breached that duty through the conduct detailed above, which
includes, but is not limited to, the failure to conduct a complete receiving screening, the
failure to base the classification recommendation upon a complete receiving screening,
and the failure to provide adequate medical attention for a chronic and emergent need.

27. KING suffered permanent damage as a direct and proximate result of

these acts or omissions, for which TURN KEY is liable.

DUE PROCESS
BOSH CLAIM
BOARD

28. KING hereby adopts and incorporates by reference the preceding
paragraphs as if fully set forth herein.

29. The BOARD is exempt from liability for all of KING’s claims arising under
the GTCA. Consequently, KING is entitled to pursue a remedy against the BOARD
directly under the state constitution for the acts or omissions of county employees acting
within the scope of employment.

30. The facts alleged herein are sufficient to establish a deprivation of due
process as it relates to the acts or omissions of currently unidentified jail staff for which
the BOARD is liable.

DELIBERATE INDIFFERENCE
42 U.S.C. § 1983
COUNTY

Case 4:19-cv-00051-JHP-fhm Document 2 Filed in USDC ND/OK on 01/30/19 Page 10 of 65

31. KING hereby adopts and incorporates by reference the preceding
paragraphs as if fully set forth herein.

32.  Atall times relevant herein, COUNTY’s employees JOHN DOE 1-10 were
acting under the direction and control, and pursuant to the rules, regulations, policies
and procedures of the COUNTY.

33. KING was wrongfully denied adequate medical attention at the facility
operated by the COUNTY as a direct result of the policies and procedures in place at
the facility.

34. COUNTY operated, or allowed the DLMJC to operate, with little or no
regard for the safety and well-being of individuals housed in the facility with chronic and
emergent medical needs with indifference to the consequences in violation of the
Fourteenth Amendment.

JOHN DOES 41-10

35. KING hereby adopts and incorporates by reference the preceding
paragraphs as if fully set forth herein.

36. Upon information and belief, JOHN DOES 1-10 had actual knowledge that
KING was suffering from an objectively serious medical condition, and despite that
knowledge, and with indifference to the consequences, JOHN DOES 1-10 either did
nothing to address or respond to the emergent medical condition, or their actions were
so inadequate that they were not reasonably tailored to address the objectively serious
medical condition confronting them.

37. The failure of JOHN DOES 1-10 to provide adequate medical care to

KING prolonged her suffering and caused permanent injury, for which JOHN DOES 1-

10 are liable.
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REQUEST FOR RELIEF
38. KING respectfully requests the Court grant judgment upon the claims

detailed above, and award damages in an amount that exceeds $75,000.00

By:

ATTORNEY LIEN CLAIMED
JURY TRIAL DEMANDED

Respectfully submitted,

BRYAN & TERRILL

KS

Steven J. Terrill, OBA # 20869
J. Spencer Bryan, OBA # 19419
BRYAN & TERRILL LAW, PLLC

9 East 4th St., Suite 307

Tulsa, OK 74103

Tele: (918) 935-2777

Fax: (918) 935-2778

Email: jsbryan@bryanterrill.com
Email: sjterrill@bryanterrill.com

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IN THE DISTRICT COURT IN AND FOR TULSA COUNTY }

STATE OF OKLAHOMA

CJ -2018 -03245

CaseNo.: Rebseng Brett Nightingale

(1) TASHAYNA KING,

| Plaintiff,

(2) BOARD OF COUNTY

eye

COMMISSIONERS FOR THE “ or
COUNTY OF TULSA; an
= |
(3) VIC REGLADO, in his official capacity Se —_
As Sheriff of Tulsa County; to
Ca
(4) TURN KEY HEALTH CLINICS, LLC; RE Cr
IV
(5) JOHN DOES 1-10; ) END
N15 2019
Defendants. wR

SUMMONS

To the above-named Defendant(s): BOARD OF COUNTY COMMISSIONERS FOR THE COUNTY OF TULSA

attached cross petition in the court at the above address within twenty (20) days after service of this summons upon
you exclusive of the day of service. Within the same time, a copy of your answer must be delivered or mailed to the
attorney for the plaintiff. Unless you answer the petition within the time stated judgment will be rendered against
you with the costs of the action.

You have been sued by the above-named plaintiff(s), and you are directed to file a written answer to the |

If Interrogatories and Request for Production of Documents are served with this Petition, you are directed
to answer the Interrogatories and produce the documents requested within forty-five (45) days after service of these |
Interrogatories and Request for Production of Documents.

D
Issued this 2D day of , 2018. ON NEWBERRY, Court Clerk
- Court Clerk

fi...8 7 ely? Deputy Court Clerk

(Seal)

EXHIBIT B

Case 4:19-cv-00051-JHP-fhm Document 2 Filed in USDC ND/OK on 01/30/19 Page 13 of 65

— = EET Ee SS
- i ]
! Attorney(s) for Plaintiff(s): |
| Name: BRYAN & TERRILL LAW, PLLC
Address: 9E. 4" St, Ste. 307
Tulsa, OK 74103 |
| (918) 935-2777 i
| This summons was served ON... 2.0.2.0... cece eee ee cece eee eeeeeeeseteecuueeeeeeceesce.

(Signature of person serving summons)

YOUR ANSWER. SUCH ATTORNEY SHOULD BE CONSULTED IMMEDIATELY SO THAT AN ANSWER MAY

YOU MAY SEEK THE ADVICE OF AN ATTORNEY ON ANY MATTER CONNECTED WITH THIS SUIT OR
BE FILED WITHIN THE TIME LIMIT STATED IN THE SUMMONS.

a
Case 4:19-cv-00051-JHP-fhm Document 2 Filed in USDC ND/OK on 01/30/19 Page 14 of 65
a ——— ==

RETURN OF SERVICE
PERSONAL SERVICE

I Certify that I received the foregoing summons on the day of , 2017, and that I

personally in County at the address and on the date set forth opposite each name, to wit:
Name of Defendant: Address: Date of Service:
FEES
Fee for service $ , Mileage $ , Total $
Dated this day of , 2017.

Process Server:
By:

County, Oklahoma

RETURN OF SERVICE
USUAL PLACE OF RESIDENCE

I certify I received the foregoing summons on the......... day of 2.0... eee eee eee :
2012, and thaton............ sPSCrVed eee cece ce ee eter e tetas eeenes by leaving a copy of
said summons with a copy of the petition attached at.......... 0.0000. cc cece cease which is his usual place of
residence, with............... 0000. , a person over fifteen (15) years of age who resides therein.
RETURN OF SERVICE

CERTIFICATE OF SERVICE BY MAIL
I certify that | mailed copies of the foregoing summons with a copy of the petition attached to the following
named defendant(s) at the address shown by certified mail, addressee only, return receipt requested on the.........
day of.................... , 2012, and receipt thereof on the dates shown:

Name of Defendant: Address: Date of Service:

delivered a copy of said summons with a copy of the petition attached to each of the following named defendants

Case 4:19-cv-00051-JHP-fhm Document 2 Filed in USDC ND/OK on 01/30/19 Page 15 of 65

IN THE DISTRICT COURT IN AND FOR TULSA COUNTY
STATE OF OKLAHOMA

TASHAYNA KING,

Paint Case No.: CS | y- 324 ?

BOARD OF COUNTY
COMMISSIONERS FOR THE
COUNTY OF TULSA;

VIC REGLADO, in his official capacity
As Sheriff of Tulsa County;

TURN KEY HEALTH CLINICS, LLC;

JOHN DOES 1-10;

Defendants.

SUMMONS

To the above-named Defendant(s): VIC REGALDO, in his Official Capacity as Sheriff of Tulsa County

You have been sued by the above-named plaintiff(s), and you are dirccted to file a written answer to the
attached cross petition in the court at the above address within twenty (20) days after service of this summons upon
you exclusive of the day of servicc. Within the same time, a copy of your answer must be delivered or mailed to the
attorney for the plaintiff. Unless you answer the petition within the time stated judgment will be rendered against
you with the costs of the action.

If Interrogatories and Request for Production of Documents are served with this Petition, you are directed

to answer the Interrogatories and produce the documents requested within forty-five (45) days after service of these
Interrogatories and Request for Production of Documents.

Issued this fo day of Ay. 2018.

e » Court Clerk

, Deputy Court Clerk

EXHIBIT C

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Se esses eeestnanasnSssnao

Attorney(s) for Plaintiff(s):
Name: BRYAN & TERRILL LAW, PLLC
Address: OE, 4" Si, Ste. 307

Tulsa, OK 74103
(918) 935-2777

This summons was served Of ..........cc eee ccc vce eecceececeatvrnevtentsunteneeenceencs

oe mm remem meee em eae ere rea ar ener taoan

(Signature of person serving summons)

YOU MAY SEEK THE ADVICE OF AN ATTORNEY ON ANY MATTER CONNECTED WITH THIS SUIT OR
YOUR ANSWER. SUCH ATTORNEY SHOULD BE CONSULTED IMMEDIATELY SO THAT AN ANSWER MAY
BE FILED WITHIN THE TIME LIMIT STATED IN THE SUMMONS.

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RETURN OF SERVICE
PERSONAL SERVICE

I Certify that 1 received the foregoing summons on the day of , 2017, and that I

delivered a copy of said summons with a copy of the petition attached to each of the following named defendants

personally in County at the address and on the date set forth opposite each name, to wit:

Name of Defendant: Address: Date of Service:

Fee for service $
Dated this

Process Server:
By:

County, Oklahoma

RETURN OF SERVICE
USUAL PLACE OF RESIDENCE

I certify I received the foregoing summons on the

2012, and that on by leaving a copy of

said summons with a copy of the petition attached at which is his usual place of

residence, with , 4 person over fifteen (15) years of age who resides therein.

RETURN OF SERVICE
CERTIFICATE OF SERVICE BY MAIL

! certify that I mailed copies of the foregoing summons with a copy of the petition attached to the following
named defendant(s) at the address shown by certified mail, addressee only, return receipt requested on the
, 2012, and receipt thereof on the dates shown:

Name of Defendant: Address: Date of Service:

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(1)

(3)

(4)

IN THE DISTRICT COURT FOR TULSA COUNTY
STATE OF OKLAHOMA

TASHAYNA KING,

Plaintiff,

BOARD OF COUNTY

COMMISSIONERS FOR THE

COUNTY OF TULSA,

TURN KEY HEALTH
CLINICS, LLC,

JOHN DOES 1-10,

Defendants.

Case No.: CJ-2018-3245

DISMISSAL WITHOUT PREJUDICE

COMES NOW Plaintiff Tashayna King, by and through her attorneys

of record, Bryan and Terrill Law, PLLC, and hereby dismisses all claims

against Defendant Turn Key Health Clinics, LLC without prejudice to

refiling.

Respectfully submitted,

By: LLL?
Steven’J. Terrill, OBA # 20869
} R & TERRILL LAW, PLLC
ast 4th St., Suite 307

EXHIBIT D
Case 4:19-cv-00051-JHP-fhm Document 2 Filed in USDC ND/OK on 01/30/19 Page 19 of 65

Tulsa, OK 74103
Tele: (918) 935-2777
Fax: (918) 935-2778

Email: sjterrill@bryanterrill.com
Attorney for Plaintiff
Case 4:19-cv-00051-JHP-fhm Document 2 Filed in USDC ND/OK on 01/30/19 Page 20 of 65

4

(1)

(3)

IN THE DISTRICT COURT FOR TULSA COUNTY
STATE OF OKLAHOMA

TASHAYNA KING,

Plaintiff,

BOARD OF COUNTY
COMMISSIONERS FOR THE
COUNTY OF TULSA,

TURN KEY HEALTH
CLINICS, LLC

Defendants.

Case No.: CJ-2018-3245

PLAINTIFF’S FIRST REQUESTS FOR ADMISSION TO DEFENDANT BOARD
OF COMMISSIONERS FOR THE COUNTY OF TULSA

Pursuant to 12 O.S. §3236 Plaintiff submits the following Admissions to Defendant to

be answered in writing, under oath, as provided by law. Admit or deny the following is true:

REQUEST NO. 1: You are properly named in the caption of this lawsuit.

REQUEST NO. 2: Regardless of justification or defense, you caused injury or

damages to the Plaintiff.

EXHIBIT E
Case 4:19-cv-00051-JHP-fhm Document 2 Filed in USDC ND/OK on 01/30/19 Page 21 of 65

Respectfully submitted,

BRYAN & TERRILL

s/J_ Spencer Bryan
J. Spencer Bryan, OBA # 19419
Steven J. Terrill, OBA # 20869
BRYAN & TERRILL LAW, PLLC
9 E. 4th St., Suite 307
Tulsa, OK 74103
Tele: (918) 935-2777
Fax: (918) 935-2778

jsbryan(@bryanterrill.com
Attorneys for Plaintiff

CERTIFICATE OF SERVICE

I hereby certify that on January 14, 2019 I served the foregoing on the following
persons:

Vic Reglado, in his Official Capacity as Sheriff of Tulsa County
c/o Tulsa Co. Sheriff’s Office

303 W 1*St

Tulsa, OK 74103

Turn Key Health Clinics, LLC

c/o Jesse White, Registered Agent
19 NE 50" Street

Oklahoma City, OK 73105

Board of County Commissioners for the County of Tulsa
c/o Michael Willis, Tulsa Co. Clerk

Ray Jordan Administrative Building

500 S. Denver Ave.

Tulsa, OK 74103

s/J. Spencer Bryan
J. Spencer Bryan

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IN THE DISTRICT COURT FOR TULSA COUNTY
STATE OF OKLAHOMA

(1) TASHAYNA KING,
Plaintiff,
Case No.: CJ-2018-3245

(2) BOARD OF COUNTY
COMMISSIONERS FOR THE
COUNTY OF TULSA,

(3) TURN KEY HEALTH
CLINICS, LLC

Defendants.

PLAINTIFF’S FIRST DOCUMENT REQUESTS TO DEFENDANT
BOARD OF COUNTY COMMISSIONERS FOR THE COUNTY OF
TULSA

Pursuant to 12 O.S. § 3234, Plaintiff submits the following Document
Requests to Defendant to be answered in writing as provided by law.

INSTRUCTIONS

In answering these Document Requests:

1. Furnish all documents and information in the possession, custody or
control of Defendant, Defendant’s officers, agents, employees, and attorneys. This
includes any document can obtain, acquire or possess without resort to compulsory
process.

2. If Defendant cannot answer any of the following document requests
in full after exercising due diligence to secure the information to do so, state the
answer to the extent possible specifying the inability to answer the remainder, and
state whatever information or knowledge Defendant has concerning the
unanswered portion.
Case 4:19-cv-00051-JHP-fhm Document 2 Filed in USDC ND/OK on 01/30/19 Page 23 of 65

3. Objections: If any document requests are objected to on any
grounds, provide the following information:

(A) a detailed statement of the objections setting forth the
complete factual basis supporting the objection;

(B) if a document request seeks production of a communication,
provide (i) the name, address, telephone number and place of
employment of all persons present at the time of such
communication; (ii) the subject-matter of the communication;
(iii) the name of the person to whom the communication was
made; (iv) and the location where such communication was
had.

4. If the production of any document is objected to on the basis that it
is privileged from discovery or has been misplaced or lost, provide as part of your
response to the request for production a written list of documents withheld from
production, and to each such document state the following:

(A) The request the document pertains to;

(B) The date of the document;

(C) The author's name, title, address, and telephone number;

(D) The addressee's name, title, address and telephone number;

(E) The name and address of each other person to whom the
document was sent or shown;

(F) The general character of the document;

(G) The present custodians of the document; and

(H) The basis on which the document is considered to be
privileged from discovery or the reason for which it is
unavailable.

5. In the event that any document called for has been destroyed, erased,
not preserved, or discarded, identify the document by stating:
(A) — each addressor and addressee;
(B) — each carbon or blind copy;
(C) the document’s date, subject matter, number of pages and
attachments or appendices;
(D) all persons to whom the document was distributed, shown or

explained;
(E) the date, manner and reason if destruction or discard; and
(F) _ the person(s) who authorized or permitted such destruction or
discard.

6. For any document withheld on the basis of an objection based upon
the Oklahoma Rules of Civil Produce, or other discovery objection, the Defendant

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is instructed to produce the withheld records consistent with its obligation under
the Oklahoma Open Records Act.

7. Objections to any request must be stated with specificity. The
specificity of the objection must state whether any responsive materials are being
withheld on the basis of that objection. An objection may state that a request is
overbroad, but if the objection recognizes that some part of the request is
appropriate the objection must state the scope that is not overbroad. Examples
would be a statement that the Defendant will limit the search to documents or
electronically stored information created within a given period of time prior to the
events in suit, or to specified sources. When there is such an objection, the
statement of what has been withheld must identify as matters “withheld” anything
beyond the scope of the search specified in the objection.

8. An objection must state whether anything is being withheld on the
basis of the objection. The Defendant does not need to provide a detailed
description or log of all documents withheld, but it does need to alert Plaintiff to
the fact that documents have been withheld and thereby facilitate an informed
discussion of the objection. An objection that states the limits that have controlled
the search for responsive and relevant materials qualifics as a statement that the
materials have been “withheld.”

Definitions
For the purposes of these Document Requests:

1, “Documents” shall refer to any and all writings or recorded
materials, of any kind whatsoever, that are or have been in the possession, custody
or control of the Defendant, or of which Defendant has knowledge, whether
originals or copies, including but not limited to contracts, correspondence,
memoranda, notes, rough drafts, diaries, calendars, summaries, books, interoffice
and intraoffice communications, notations of any sort of conversations, logs,
forms, bank statements, tax returns, card files, books of account, journals, ledgers,
writien agreements, bulletins, computer printouts, telefax, invoices, blueprints,
diagrams, drawings, worksheets; all drafts, alterations, modifications, changes, and
amendments of any of the foregoing; graphic or oral records or representations of

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photographs, discs, recordings, and computer memories); or other written or
printed recorded matter or tangible things on which words, phrases, symbols, or
information are affixed.

This definition includes electronically stored information (hereinafter
“ESI”), which should be afforded the broadest possible meaning and includes (by

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Case 4:19-cv-00051-JHP-fhm Document 2 Filed in USDC ND/OK on 01/30/19 Page 25 of 65

way of example and not as an exclusive list) potentially relevant information
electronically, magnetically, optically or otherwise stored as:

° Digital communications (e.g. email, voice mail, instant
messaging);

° E-mail servers (e.g. Lotus Domino, NSF or Microsoft
Exchange, EDB);

° Word processed documents (e.g. Word or WordPerfect files
and drafts in native format);

. Spreadsheets and tables (e.g. Excel or Lotus 123 worksheets);

° Accounting Application Data (e.g., QuickBooks, Money,

Peachtree data);
° Image and Facsimile Files (e.g. .pdf, .tiff, jpeg .gif images);
° Sound Recordings (e.g. .avi, .wav and .mp3 files);
° Video and Animation (e.g. .avi, and .mov files);

° Databases (e.g. Access, Oracle, SQL Server data, sap);
° Coniact and Relationship Management data (e.g. Outlook,

ACT);

° Calendar & Diary Application Data (e.g. Outlook, PST, blog
entries);

° Online Access data (e.g. Temporary Internet Files, History,
Cookies);

° Presentations (e.g. PowerPoint, Corel Presentations);

° Network Access and Server Activity Logs;

° Project Management Application Data;

. Computer Aided Design/Drawing Files; and

* Backup and Archival Files (¢.g. Veritas, zip and Gho)

2. “Plaintiff” includes the Plaintiff in the above-caption action, to
include any person represented by the Plaintiff in connection with this action as a
Next Friend, Special Administrator, or otherwise as context requires, Plaintiff's
counsel and all agents, servants, employees, representatives, and others who may
have communicated with you on Plaintiff's behalf.

3. “You,” “your,” “Defendant,” shall refer to Defendant to whom
these Interrogatories are directed, Defendant’s successors, assigns and all other
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Defendant’s agents, officers, shareholders, board members, trustees, employees, or
other representatives, including but not limited to negotiators, investigators,
brokers, servants, attorneys or accountants, and others who may have
communicated or obtained information for Defendant or on your behalf. This
term is used both singularly and collectively as the context requires.

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4. The word “person” or “persons” shall refer to all individuals and
entities, including without limitation all natural persons, individuals, sole
proprietorships, associations, companies, partnerships, limited partnership, joint
ventures, corporations, trusts, and estates.

5. “In full detail” means to set out in the fullest detail possible all
knowledge or information available to Defendant on the subject.

6. “Issues in this action” means any factual issues which are raised in
the pleadings in the above captioned action, including any complaint or answer,
any motion and/or any amendments of the pleadings filed in the above captioned
action.

7, “Relates” or “relating” as used herein mean supports, proves,
evidences, describes, is associated with, provides background for, explains, or
tends to contradict, where appropriate to the context.

8. “Identify” with reference to a person means to furnish information
sufficient to enable Plaintiff to identify and locate the person, including to the
extent the information is available to you, the full name and present or last known
home address, e-mail address, and phone number, and business address, e-mail
address, and phone number of the person, together with the partnership, firm,
association, corporation or other business, government or legal entity by whom
said person is employed or with whom he is affiliated in his position therein.

9. “Identify” with reference to a communication means to give the date
or best-known date of the communication, the form of the communication (e.g. in
person, telephone, electronic mail, letter), the date of communication, and the
content of the communication, and to identify (see prior instruction) all parties
making or receiving the communication.

10. For any word or phrase not otherwise defined herein, Defendant is
instructed to apply a reasoned common-sense definition to guide its response. See
Pulsecard, Inc. v. Discover Card Servs., Inc., 168 F.R.D. 295, 310 (D. Kan. 1996).
(A party responding to discovery requests “should exercise reason and common

sense to attribute ordinary definitions to terms and phrases utilized in
interroo 2 i j i

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Defendant is instructed to use the most recent definition provided by the online
version of dictionary.com.

11. The singular includes the plural and the plural includes the singular
where appropriate to the sense of the request.
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DOCUMENT REQUESTS

REQUEST NO. 1: Any policy of insurance or indemnity agreement,

reinsurance, excess coverage, or errors and omissions policies that may provide
coverage for the claims raised in the lawsuit, to include individual and umbrella
policies maintained by you to include any homeowner’s policics, or coverage
extended through any type of membership in any program or purchase of any plan
or agreement that may provide coverage for personal liability claims.

REQUEST NO. 2: Each Document Defendant may use in defense of this

matter, including but not limited to documents listed in disclosures by any
Defendant, any document listed in any exhibit list, and any document referenced
or relied upon in responding to any Interrogatory, Request for Admission, or
Document Request.

REQUEST NO. 3: Documents which refer, relate or touch upon any

investigation in any way connected to the claims or defenses asserted in the
pleadings filed in this case.

REQUEST NO. 4: Documents, including but not limited to statements,

affidavits, emails, text messages, and recordings, including audio or video,

reflecting any image, statement, assertion, contention, or discussions, involving

the claims or defenses asserted in the pleadings filed in this case,

REQUEST NO. 5: Documents relied upon by any expert witness retained

by the Defendant to provide testimony at the trial of this matter.

REQUEST NO. 6: With respect to any expert witness retained by the

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Defendant, provide a copy of the expert’s most recent CV.

REQUEST NO. 7: Records, reports, or documents of any kind relating in

any way to, or identifying the Plaintiff's decedent by name or image that are not
otherwise included in any of the above requests.

REQUEST NO. 8: Policies, memos, guidelines (however characterized)

governing medical and chronic care services provided at the David L. Moss
Criminal Justice Center in September 2016.

REQUEST NO. 10: For the three years preceding the incident

through present, audits, quality assurance reports, or other analysis or evaluation
(however characterized) regarding the medical and chronic care services provided
at the David L. Moss Criminal Justice Center.

REQUEST NO. 11: Documents regarding each DLMCJC employee

or contractor that interacted with Tashayna King in September 2016 that address
the following subjects: (1) resume, application, contract, or hiring documents; (2)
training records and curriculum; (3) time and attendance records; (4) complaints,
write-ups, investigations, or grievances; (5) separation records; and (6) incentive
pay or bonus opportunities.

REQUEST NO. 12: Contracts, agreements, policies, formulary

records, and other documents that memorialize chronic_care-practices-at-the David

L. Moss Criminal Justice Center in September 2016 from admission to discharge.

REQUEST NO. 13: For the five years preceding the incident to the

present, documents identifying each occasion where DLMCJC was accused of

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improper care in relation to the management of a chronic medical condition.

REQUEST NO. 14: Produce any medical administration log for
Plaintiff.

REQUEST NO. 15: Produce any Internal Clinic Referral Form for

Plaintiff arising from her detention at the David L. Moss Criminal Justice Center.

REQUEST NO. 16: For each encounter between you and Plaintiff,

produce the Nursing Assessment Protocol.

REQUEST NO. 17: In September and October of 2016, produce any

policy, guidance, training, or standards to address when you would triage requests
submitted to determine if the request involved a need for emergent health care as
opposed to non-emergent care.

REQUEST NO. 18: Produce each Specialty Services Request Form

and approval related to the September 2016 detention of Plaintiff.

REQUEST NO. 19: Produce each treatment plan related to the

September 2017 detention of Plaintiff.

REQUEST NO. 20: Produce any individualized treatment plan for

Plaintiff involving her September 2016 detention.

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Respectfully submitted,

BRYAN & TERRILL

s/J_ Spencer Bryan
J. Spencer Bryan, OBA # 19419
Steven J. Terrill, OBA # 20869
BRYAN & TERRILL LAW, PLLC
9 E. 4th St., Suite 307
Tulsa, OK 74103
Tele: (918) 935-2777
Fax: (918) 935-2778
isbryan@bryanterrill.com
Attorneys for Plaintiff

CERTIFICATE OF SERVICE

I hereby certify that on January 14, 2019 I served the foregoing on the
following persons:

Vic Reglado, in his Official Capacity as Sheriff of Tulsa County
c/o Tulsa Co. Sheriffs Office

303 W Ist St

Tulsa, OK 74103

Turn Key Health Clinics, LLC

c/o Jesse White, Registered Agent
19 NE_ 50th Street

Oklahoma City, OK 73105

Board of County Commissioners for the County of Tulsa
c/o Michael Willis, Tulsa Co. Clerk

Ray Jordan Administrative Building

500 S. Denver Ave.
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Tulsa, OK 74103

s/J._ Spencer Bryan
J. Spencer Bryan

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IN THE DISTRICT COURT FOR TULSA COUNTY
STATE OF OKLAHOMA

(1) TASHAYNA KING,
Plaintiff,
Case No.: 2018-3245

(2) BOARD OF COUNTY
COMMISSIONERS FOR THE
COUNTY OF TULSA,

(3) TURN KEY HEALTH
CLINICS, LLC

Defendants.

PLAINTIFF’S FIRST INTERROGATORIES TO DEFENDANT BOARD
OF COUNTY COMMISSIONERS FOR THE COUNTY OF TULSA

Pursuant to 12 O.S. § 2033 Plaintiff submits the following Interrogatories
to Defendant to be answered in writing, under oath, as provided by law.

INSTRUCTIONS

In answering these Interrogatories:

1. Furnish all information in the possession, custody or control of
Defendant, its officers, agents, employees, and attorneys. This includes any
information Defendant may obtain, acquire or possess without resort to
compulsory process.

2. lf Defendant cannot answer any of the following interrogatories in
full after exercising due diligence to secure the information to do so, state the
answer to the extent possible specifying the inability to answer the remainder, and
state whatever information or knowledge Defendant has concerning the
unanswered portion.
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3. If Defendant objects to any interrogatory, please identify the general
nature and the basis for each objection so that Plaintiff may determine whether to
file and argue a Motion to Compel Answers to Interrogatories. State ex rel.
Atchison, Topeka & Santa Fe Railroad v. O’Malley, 898 S.W.2d 550, 554 (Mo.
banc 1995).

4, If a proper objection is made, Defendant still has the obligation to
answer as much of the interrogatory as it can. See 8A C. A. Wright, A. R. Miller,
& R. L. Marcus Federal Practice & Procedure § 2173 (2d ed. 1994),

5. Objections: If any interrogatory is objected to on any grounds,
provide the following information:

(A) a detailed statement of the objections setting forth the
complete factual basis supporting the objection;

(B) if an interrogatory seeks information regarding a
communication, provide (i) the name, address, telephone
number and place of employment of all persons present at the
time of such communication; (ii) the subject-matter of the
communication; (iii) the name of the person to whom the
communication was made; (iv) and the location where such
communication was had.

6. If an interrogatory is objected to on the basis that the information is
privileged from discovery or is unavailable, or not capable of being production,
provide as part of your response to the interrogatory a written list of the
information withheld, and to each category of information state the following:

(A) The interrogatory to which the information pertains;

(B) The date of the information;

(C) The name, title, address, and telephone number of the
person(s) with knowledge of the information;

(D) The name, title, address and telephone number of the
person(s) to whom the information was disclosed;

(E) The name and address of each other person to whom the
information was disclosed;

(F) The general character of the information being withheld;

(G) The present custodians of any documents memorializing the

(H) The basis on which the information is considered to be
privileged from discovery or the reason for which it is
unavailable.

Definitions
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For the purposes of these Interrogatories:

1. “Documents” shall refer to any and all writings or recorded
materials, of any kind whatsoever, that are or have been in the possession, custody
or control of the Defendant, or of which Defendant has knowledge, whether
originals or copies, including but not limited to contracts, correspondence,
memoranda, notes, rough drafts, diaries, calendars, summaries, books, interoffice
and intraoffice communications, notations of any sort of conversations, logs,
forms, bank statements, tax returns, card files, books of account, journals, ledgers,
written agreements, bulletins, computer printouts, telefax, invoices, blueprints,
diagrams, drawings, worksheets; all drafts, alterations, modifications, changes, and
amendments of any of the foregoing; graphic or oral records or representations of
any kind (including, but without limitation, tapes, cassettes, videocassettes,
photographs, discs, recordings, and computer memories); or other written or
printed recorded matter or tangible things on which words, phrases, symbols, or
information are affixed.

This definition includes electronically stored information (hereinafter
“ESI”’), which should be afforded the broadest possible meaning and includes (by
way of example and not as an exclusive list) potentially relevant information
electronically, magnetically, optically or otherwise stored as:

. Digital communications (e.g. email, voice mail, instant
messaging);

° E-mail servers (e.g. Lotus Domino, NSF or Microsoft
Exchange, EDB);

. Word processed documents (e.g. Word or WordPerfect files

and drafts in native format);

° Spreadsheets and tables (e.g. Excel or Lotus 123 worksheets);

° Accounting Application Data (e.g., QuickBooks, Money,
Peachtree data);

° Image and Facsimile Files (e.g. .pdf, .tiff, .jpeg .gif images);

° Sound Recordings (e.g. .avi, .wav and .mp3 files);

° Video and Animation (e.g. .avi, and .mov files);

° Databases (e.g. Access, Oracle, SQL Server data, sap);

° Contact and Relationship Management data (e.g. Outlook,
AC'TL).

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° Calendar & Diary Application Data (e.g. Outlook, PST, blog

entries);

° Online Access data (e.g. Temporary Internet Files, History,
Cookies);

° Presentations (e.g. PowerPoint, Corel Presentations);

° Network Access and Server Activity Logs;

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Case 4:19-cv-00051-JHP-fhm Document 2 Filed in USDC ND/OK on 01/30/19 Page 35 of 65

° Project Management Application Data;
° Computer Aided Design/Drawing Filcs; and
° Backup and Archival Files (e.g. Veritas, zip and Gho)

2. “Plaintiff”? includes the Plaintiff in the above-caption action, to
include any person represented by the Plaintiff in connection with this action as a
Next Friend, Special Administrator, or otherwise as context requires, Plaintiff's
counsel and all agents, servants, employees, representatives, and others who may
have communicated with you on Plaintiff's behalf.

3. “You,” “your,” “Defendant,” shall refer to Defendant to whom
these Interrogatories are directed, Defendant’s successors, assigns and all other
names by which Defendant at any time has done business or becn known, and to
Defendant’s agents, officers, shareholders, board members, trustees, employees, or
other representatives, including but not limited to negotiators, investigators,
brokers, scrvants, attorneys or accountants, and others who may have
communicated or obtained information for Defendant or on your behalf. This
term is used both singularly and collectively as the context requires.

4, The word “person” or “persons” shall refer to all individuals and
entities, including without limitation all natural persons, individuals, sole
proprietorships, associations, companies, partnerships, limited partnership, joint
ventures, corporations, trusts, and estates.

5. “In full detail” means to set out in the fullest detail possible all
knowledge or information available to Defendant on the subject.

6. “Issues in this action” means any factual issues which are raised in
the pleadings in the above captioned action, including any complaint or answer,
any motion and/or any amendments of the pleadings filed in the above captioned
action.

7. “Relates” or “relating” as used herein mean supports, proves,
evidences, describes, is associated with, provides background for, explains, or
tends to contradict, where appropriate to the context.

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sufficient to enable Plaintiff to identify and locate the person, including to the
extent the information is available to you, the full name and present or last known
home address, e-mail address, and phone number, and business address, e-mail
address, and phone number of the person, together with the partnership, firm,
association, corporation or other business, government or legal entity by whom
said person is employed or with whom he is affiliated in his position therein.

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9. “Identify” with reference to a communication means to give the date
or best-known date of the communication, the form of the communication (e.g. in
person, telephone, electronic mail, letter), the date of communication, and the
content of the communication, and to identify (see prior instruction) all parties
making or receiving the communication.

10. For any word or phrase not otherwise defined herein, Defendant is
instructed to apply a reasoned common-sense definition to guide its response. See
Pulsecard, Inc. v. Discover Card Servs., Inc., 168 F.R.D. 295, 310 (D. Kan. 1996).
(A party responding to discovery requests “should exercise reason and common
sense to attribute ordinary definitions to terms and phrases utilized in
interrogatories.”). To the extent Defendant is still unable to provide a response,
Defendant is instructed to use the most recent definition provided by the online
version of dictionary.com.

11. The singular includes the plural and the plural includes the singular
where appropriate to the sense of the request.

INTERROGATORIES

REQUEST NO. 1: Identify each person answering these interrogatories

by stating each person’s name, address, email addresses, social media accounts,
telephone number, and his/her position with Defendant.

REQUEST NO. 2: Please identify and provide the name, address,

telephone number, place of employment and job title of any person who has,
claims to have, or whom you believe may have knowledge or information
pertaining to any fact alleged in the pleadings filed in this action, or any fact

underlying the subject matter of this action, stating for each the specific nature and

substance of the knowledge that you believe the person(s) identified may have.
This includes, but is not limited to, every person known to you, your agents, or

attorneys, who has knowledge about, or possession, custody or control of any
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correspondence, electronic or cellular record, recording, note, calendar, journal, or
any other document pertaining to any fact or issue involved in this controversy.
For persons who you believe have responsive documents, describe as to each
document what such person has, the name and address of the person who took or
prepared it, and the date it was taken or prepared.

REQUEST NO. 3: Identify all persons from whom you, your attorney or

any of your agents or employees have obtained a written or verbal statement or
affidavit pertaining to issues or facts relevant to this lawsuit.

REQUEST NO. 4: State the name and address of every person known to

you, your agents, or attorneys, who has knowledge about, or possession, custody
or control of any model, plat, map, drawing, motion picture, video tape, or
photograph pertaining to any fact or issue involved in this controversy; and
describe as to each, what such person has, the name and address of the person who
took or prepared it, and the date it was taken or prepared.

REQUEST NO. 5: With respect to all experts that Defendant may call to

give fact or opinion testimony in the trial of this matter, Identify the following:

A. Name and address of the witness;

B. — The substance or summary of the facts to which the witness is
expected-to-testify:
tify:

C. —acomplete statement of all opinions the witness will express and the

basis and reasons for them;

D. __ the facts or data considered by the witness in forming them;

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E. any exhibits that will be used to summarize or support them;

F, the witness’s qualifications, including a list of all publications
authored in the previous 10 years;

G. a list of all other cases in which, during the previous 4 years, the
witness testified as an expert at trial or by deposition; and

H. a statement of the compensation to be paid for the study and

testimony in this case.

REQUEST NO. 6: For each Paragraph in Defendant’s Answer setting
forth either a denial or lack of information, identify with specificity the complete
factual basis supporting the denial, or alternatively, describe with particularly the
actions taken, including documents reviewed and persons consulted, to determine
whether you could admit or deny the Paragraph.

REQUEST NO. 7: For each affirmative defense set forth in your Answer,

identify and describe with specificity all facts, documents, and witnesses that you
contend will support each affirmative defense.

REQUEST NO. 8: Identify by name, case number, and court each and

every case in the last 10 years in which the Defendant has been named as a party

where the allegations implicated each of the following: failure to appropriately

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medical care for an emergent medical need.

REQUEST NO. 9: Fully identify and describe each encounter between

Plaintiff and Defendant’s agents or employees during the detention in September

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2016. At a minimum, your answer must include the following:

a) An accurate summary of the substance of any

communications;
b) The identity of each person involved;
c) The location of each encounter.
REQUEST NO. 10: Identify each time in the past 5 years where an
audit, an agency, or a vendor for correctional medical services, has stated that you

of failed to meet contractual, or other standards, related to the provision of medical

care.

Respectfully submitted,

BRYAN & TERRILL

s/J. Spencer Bryan
J. Spencer Bryan, OBA # 19419
Steven J. Terrill, OBA # 20869
BRYAN & TERRILL LAW, PLLC
9 E. 4th St., Suite 307
Tulsa, OK 74103
Tele: (918) 935-2777
Fax: (918) 935-2778
isbryan@bryanterrill.com
Attorneys for Plaintiff

Case 4:19-cv-00051-JHP-fhm Document 2 Filed in USDC ND/OK on 01/30/19 Page 40 of 65

CERTIFICATE OF SERVICE

I hereby certify that on January 14, 2019 I served the foregoing on the following
persons:

Vic Reglado, in his Official Capacity as Sheriff of Tulsa County
c/o Tulsa Co. Sheriff's Office

303 W Ist St

Tulsa, OK 74103

Turn Key Health Clinics, LLC
c/o Jesse White, Registered Agent
19 NE 50th Street

Oklahoma City, OK 73105

Board of County Commissioners for the County of Tulsa
c/o Michael Willis, Tulsa Co. Clerk

Ray Jordan Administrative Building

500 S. Denver Ave.

Tulsa, OK 74103

S/J. Spencer Bryan
J. Spencer Bryan

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(1)

(3)

IN THE DISTRICT COURT FOR TULSA COUNTY
STATE OF OKLAHOMA

TASHAYNA KING,

Plaintiff,

BOARD OF COUNTY
COMMISSIONERS FOR THE
COUNTY OF TULSA,

TURN KEY HEALTH
CLINICS, LLC

Defendants.

Case No.: CJ-2018-3245

PLAINTIFF’S FIRST REQUESTS FOR ADMISSION TO DEFENDANT TURN
KEY HEALTH CLINICS, LLC

Pursuant to 12 O.S. §3236 Plaintiff submits the following Admissions to Defendant to

be answered in writing, under oath, as provided by law. Admit or deny the following is true:

REQUEST NO. 1: You are properly named in the caption of this lawsuit.

REQUEST NO. 2: Regardless of justification or defense, you caused injury or

damages to the Plaintiff.

REQUEST NO. 3: You were aware that Plaintiff had an emergent medical.

REQUEST NO. 4; Y » that Plaintiff ited hoepitalizati

~nephrostomy tube.

REQUEST NO. 5: You were aware that Plaintiff entered David L. Moss with a

REQUEST NO. 6: Plaintiff was classified incorrectly based upon her medical status

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upon presenting to David L. Moss.

REQUEST NO. 7: You were informed that while in custody at David L. Moss,

Plaintiff's nephrostomy tube was no longer working.

Respectfully submitted,

BRYAN & TERRILL

s/J. Spencer Bryan
J. Spencer Bryan, OBA # 19419
Steven J. Terrill, OBA # 20869
BRYAN & TERRILL LAW, PLLC
OE. 4th St., Suite 307
Tulsa, OK 74103
Tele: (918) 935-2777
Fax: (918) 935-2778
jsbryan@bryanterrill.com
Attorneys for Plaintiff

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CERTIFICATE OF SERVICE
I hereby certify that on January 14, 2019 I served the foregoing on the following persons:

Vic Reglado, in his Official Capacity as Sheriff of Tulsa County
c/o Tulsa Co. Sheriff’s Office

303 W Ist St

Tulsa, OK 74103

Turn Key Health Clinics, LLC
c/o Jesse White, Registered Agent
19 NE 50th Street

Oklahoma City, OK 73105

Board of County Commissioners for the County of Tulsa
c/o Michael Willis, Tulsa Co. Clerk

Ray Jordan Administrative Building

500 S. Denver Ave.

Tulsa, OK 74103

s/J_ Spencer Bryan
J. Spencer Bryan

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IN THE DISTRICT COURT FOR TULSA COUNTY
STATE OF OKLAHOMA

(1) TASHAYNA KING,
Plaintiff,
Case No.: CJ-2018-3245

(2) BOARD OF COUNTY
COMMISSIONERS FOR THE
COUNTY OF TULSA,

(3) TURN KEY HEALTH
CLINICS, LLC

Defendants.

PLAINTIFF’S FIRST INTERROGATORIES TO DEFENDANT TURN
KEY HEALH SERVICES, LLC

Pursuant to 12 O.S. § 2033 Plaintiff submits the following Interrogatories
to Defendant to be answered in writing, under oath, as provided by law.

INSTRUCTIONS

In answering these Interrogatories:

1. Furnish all information in the possession, custody or control of
Defendant, its officers, agents, employees, and attorneys. This includes any
information Defendant may obtain, acquire or possess without resort to
compulsory proccss.

2. If Defendant cannot answer any of the following interrogatories in
full after exercising due diligence to secure the information to do so, state the
answer to the extent possible specifying the inability to answer the remainder, and
state whatever information or knowledge Defendant has concerning the
unanswered portion.
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3. If Defendant objects to any interrogatory, please identify the general
nature and the basis for each objcction so that Plaintiff may determine whether to
file and argue a Motion to Compel Answers to Interrogatories. State ex rel.
Atchison, Topeka & Santa Fe Railroad v. O’Malley, 898 S.W.2d 550, 554 (Mo.
banc 1995).

4, If a proper objection is made, Defendant still has the obligation to
answer as much of the interrogatory as it can. See 8A C. A. Wright, A. R. Miller,
& R. L. Marcus Federal Practice & Procedure § 2173 (2d ed. 1994).

5. Objections: If any interrogatory is objected to on any grounds,
provide the following information:

(A) a detailed statement of the objections setting forth the
complete factual basis supporting the objection;

(B) if an interrogatory seeks information regarding a
communication, provide (i) the name, address, telephone
number and place of employment of all persons present at the
time of such communication; (ii) the subject-matter of the
communication; (iii) the name of the person to whom the
communication was made; (iv) and the location where such
communication was had.

6. If an interrogatory is objected to on the basis that the information is
privileged from discovery or is unavailable, or not capable of being production,
provide as part of your response to the interrogatory a written list of the
information withheld, and to each category of information state the following:

(A) The interrogatory to which the information pertains;

(B) The date of the information;

(C) The name, title, address, and telephone number of the
person(s) with knowledge of the information;

(D) The name, title, address and telephone number of the
person(s) to whom the information was disclosed;

(E) The name and address of each other person to whom the
information was disclosed;

(F) The general character of the information being withheld;

(G) The present custodians of any documents memorializing the
information being withheld:and

(H) The basis on which the information is considered to be
privileged from discovery or the reason for which it is
unavailable.

Definitions
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For the purposes of these Interrogatories:

l. “Documents” shall refer to any and all writings or recorded
materials, of any kind whatsoever, that are or have been in the possession, custody
or control of the Defendant, or of which Defendant has knowledge, whether
originals or copies, including but not limited to contracts, correspondence,
memoranda, notes, rough drafts, diaries, calendars, summaries, books, interoffice
and intraoffice communications, notations of any sort of conversations, logs,
forms, bank statements, tax returns, card files, books of account, journals, ledgers,
written agreements, bulletins, computer printouts, telefax, invoices, blueprints,
diagrams, drawings, worksheets; all drafts, alterations, modifications, changes, and
amendments of any of the foregoing; graphic or oral records or representations of
any kind (including, but without limitation, tapes, cassettes, videocassettes,
photographs, discs, recordings, and computer memories); or other written or
printed recorded matter or tangible things on which words, phrases, symbols, or
information are affixed.

This definition includes electronically stored information (hereinafter
“ESI”), which should be afforded the broadest possible meaning and includes (by
way of example and not as an exclusive list) potentially relevant information
electronically, magnetically, optically or otherwise stored as:

. Digital communications (e.g. email, voice mail, instant
messaging);
° E-mail servers (e.g. Lotus Domino, NSF or Microsoft

Exchange, EDB);
° Word processed documents (e.g. Word or WordPerfect files
and drafts in native format);
° Spreadsheets and tables (e.g. Excel or Lotus 123 worksheets);
° Accounting Application Data (e.g., QuickBooks, Money,

Peachtree data);

° Image and Facsimile Files (e.g. .pdf, .tiff, .jpeg .gif images);

° Sound Recordings (e.g. .avi, .wav and .mp3 files);

° Video and Animation (e.g. .avi, and .mov files);

° Databases (e.g. Access, Oracle, SQL Server data, sap);

° Contact and Relationship Management data (e.g. Outlook,
ACTD;

. Calendar & Diary Application Data (e.g. Outlook, PST, blog
entries);

° Online Access data (e.g. Temporary Internet Files, History,
Cookies);

° Presentations (e.g. PowerPoint, Corel Presentations);

* Network Access and Server Activity Logs;

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° Project Management Application Data;
° Computer Aided Design/Drawing Filcs; and
° Backup and Archival Files (e.g. Veritas, zip and Gho)

2. “Plaintiff”? includes the Plaintiff in the above-caption action, to
include any person represented by the Plaintiff in connection with this action as a
Next Friend, Special Administrator, or otherwise as context requires, Plaintiffs
counsel and all agents, servants, employees, representatives, and others who may
have communicated with you on Plaintiff's behalf.

3. “You,” “your,” “Defendant,” shall refer to Defendant to whom
these Interrogatories are directed, Defendant’s successors, assigns and all other
names by which Defendant at any time has done business or been known, and to
Defendant’s agents, officers, shareholders, board members, trustees, employees, or
other representatives, including but not limited to negotiators, investigators,
brokers, servants, attorneys or accountants, and others who may have
communicated or obtained information for Defendant or on your behalf. This
term is used both singularly and collectively as the context requires.

4. The word “person” or “persons” shall refer to all individuals and
entities, including without limitation all natural persons, individuals, sole
proprietorships, associations, companies, partnerships, limited partnership, joint
ventures, corporations, trusts, and estates.

5. “In full detail” means to set out in the fullest detail possible all
knowledge or information available to Defendant on the subject.

6. “Issues in this action” means any factual issues which are raised in
the pleadings in the above captioned action, including any complaint or answer,
any motion and/or any amendments of the pleadings filed in the above captioned
action.

7. “Relates” or “relating” as used herein mean supports, proves,
evidences, describes, is associated with, provides background for, explains, or
tends to contradict, where appropriate to the context.

&. “Identify” with reference to a person means to furnish information

sufficient to enable Plaintiff to identify and locate the person, including to the
extent the information is available to you, the full name and present or last known
home address, e-mail address, and phone number, and business address, e-mail
address, and phone number of the person, together with the partnership, firm,
association, corporation or other business, government or legal entity by whom
said person is employed or with whom he is affiliated in his position therein.

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9. “Identify” with reference to a communication means to give the date
or best-known date of the communication, the form of the communication (e.g. in
person, telephone, electronic mail, letter), the date of communication, and the
content of the communication, and to identify (see prior instruction) all parties
making or receiving the communication.

10.‘ For any word or phrase not otherwise defined herein, Defendant is
instructed to apply a reasoned common-sense definition to guide its response. See
Pulsecard, Inc. v. Discover Card Servs., Inc., 168 F.R.D. 295, 310 (D. Kan. 1996).
(A party responding to discovery requests “should exercise reason and common
sense to attribute ordinary definitions to terms and phrases utilized in
interrogatories.”). To the extent Defendant is still unable to provide a response,
Defendant is instructed to use the most recent definition provided by the online
version of dictionary.com.

11. The singular includes the plural and the plural includes the singular
where appropriate to the sense of the request.

INTERROGATORIES

REQUEST NO. 1: Identify each person answering these interrogatories

by stating each person’s name, address, emai] addresses, social media accounts,

telephone number, and his/her position with Defendant.

REQUEST NO. 2: Please identify and provide the name, address,
telephone number, place of employment and job title of any person who has,
claims to have, or whom you believe may have knowledge or information
pertaining to any fact alleged in the pleadings filed in this action, or any fact

underlying the subject matter of this action, stating for each the specific nature and

substance of the knowledge that you believe the person(s) identified may have.
This includes, but is not limited to, every person known to you, your agents, or

attorneys, who has knowledge about, or possession, custody or control of any
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correspondence, electronic or cellular record, recording, note, calendar, journal, or
any other document pertaining to any fact or issue involved in this controversy.
For persons who you believe have responsive documents, describe as to each
document what such person has, the name and address of the person who took or
prepared it, and the date it was taken or prepared.

REQUEST NO. 3: Identify all persons from whom you, your attorney or

any of your agents or employees have obtained a written or verbal statement or
affidavit pertaining to issues or facts relevant to this lawsuit.

REQUEST NO. 4: State the name and address of every person known to

you, your agents, or attorneys, who has knowledge about, or possession, custody
or control of any model, plat, map, drawing, motion picture, video tape, or
photograph pertaining to any fact or issue involved in this controversy; and
describe as to each, what such person has, the name and address of the person who
took or prepared it, and the date it was taken or prepared.

REQUEST NO. 5: With respect to all experts that Defendant may call to

give fact or opinion testimony in the trial of this matter, Identify the following:
A. Name and address of the witness;

B. The substance or summary of the facts to which the witness is

expected to testify.
C. _acomplete statement of all opinions the witness will express and the
basis and reasons for them;

D. __ the facts or data considered by the witness in forming them;

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E, any exhibits that will be used to summarize or support them;

F. the witness’s qualifications, including a list of all publications
authored in the previous 10 years;

G. a list of all other cases in which, during the previous 4 years, the
witness testified as an expert at trial or by deposition; and

H. a statement of the compensation to be paid for the study and
testimony in this case.

REQUEST NO. 6: For each Paragraph in Defendant’s Answer setting

forth either a denial or lack of information, identify with specificity the complete
factual basis supporting the denial, or alternatively, describe with particularly the
actions taken, including documents reviewed and persons consulted, to determine
whether you could admit or deny the Paragraph.

REQUEST NO. 7: For each affirmative defense set forth in your Answer,

identify and describe with specificity all facts, documents, and witnesses that you
contend will support each affirmative defense.

REQUEST NO. 8: Identify by name, case number, and court each and

every case in the last 10 years in which the Defendant has been named as a party

where the allegations implicated each of the following: failure to appropriately

classify an inmate hased upon medical status and failure to provide appropriate

medical care for an emergent medical need.

REQUEST NO. 9: Fully identify and describe each encounter between

Plaintiff and Defendant’s agents or employees during the detention in September

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2016, At a minimum, your answer must include the following:

a)

b)

c)

REQUEST NO. 10:

accurate summary of the substance of any
communications;
The identity of each person involved;

The location of each encounter.

Identify each time in the past 10 years where an

audit, an agency, or a vendor for correctional medical services, has stated that you

of failed to meet contractual, or other standards, related to the provision of medical

care.

Respectfully submitted,

BRYAN & TERRILL

s/J. Spencer Bryan
J. Spencer Bryan, OBA # 19419
Steven J. Terrill, OBA # 20869
BRYAN & TERRILL LAw, PLLC
9 E. 4th St., Suite 307
Tulsa, OK 74103
Tele: (918) 935-2777
Fax: (918) 935-2778
isbryan@bryanterrill.com
Attorneys for Plaintiff

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CERTIFICATE OF SERVICE

I hereby certify that on January 14, 2019 I served the foregoing on the
following persons:

Vic Reglado, in his Official Capacity as Sheriff of Tulsa County
c/o Tulsa Co. Sheriff's Office

303 W 1* St

Tulsa, OK 74103

Turn Key Health Clinics, LLC
c/o Jesse White, Registered Agent
19 NE 50" Street

Oklahoma City, OK 73105

Board of County Commissioners for the County of Tulsa
c/o Michael Willis, Tulsa Co. Clerk

Ray Jordan Administrative Building

500 S. Denver Ave.

Tulsa, OK 74103

s/J. Spencer Bryan
J. Spencer Bryan

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IN THE DISTRICT COURT FOR TULSA COUNTY
STATE OF OKLAHOMA

(1) TASHAYNA KING,
Plaintiff,
Case No.: CJ-2018-3245

(2) BOARD OF COUNTY
COMMISSIONERS FOR THE
COUNTY OF TULSA,

(3) TURN KEY HEALTH
CLINICS, LLC

Defendants.

PLAINTIFF’S FIRST DOCUMENT REQUESTS TO DEFENDANT TURN
KEY HEALTH SERVICES, LLC

Pursuant to 12 O.S. § 3234, Plaintiff submits the following Document
Requests to Defendant to be answered in writing as provided by law.

INSTRUCTIONS

In answering these Document Requests:

1. Furnish all documents and information in the possession, custody or
control of Defendant, Defendant’s officers, agents, employees, and attorneys. This
includes any document can obtain, acquire or possess without resort to compulsory
process.

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in full after exercising due diligence to secure the information to do so, state the
answer to the extent possible specifying the inability to answer the remainder, and
state whatever information or knowledge Defendant has concerning the
unanswered portion.
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3. Objections: If any document requests are objected to on any
grounds, provide the following information:

(A) a detailed statement of the objections setting forth the
complete factual basis supporting the objection;

(B) if a document request seeks production of a communication,
provide (i) the name, address, telephone number and place of
employment of all persons present at the time of such
communication; (ii) the subject-matter of the communication;
(iii) the name of the person to whom the communication was
made; (iv) and the location where such communication was
had.

4, If the production of any document is objected to on the basis that it
is privileged from discovery or has been misplaced or lost, provide as part of your
response to the request for production a written list of documents withheld from
production, and to each such document state the following:

(A) | The request the document pertains to;

(B) The date of the document;

(C) The author's name, title, address, and telephone number;

(D) The addressee's name, title, address and telephone number;

(E) The name and address of each other person to whom the
document was sent or shown;

(F) The general character of the document;

(G) _ The present custodians of the document; and

(H) The basis on which the document is considered to be
privileged from discovery or the reason for which it is
unavailable.

5. In the event that any document called for has been destroyed, erased,
not preserved, or discarded, identify the document by stating:
(A) _ each addressor and addressee; ,
(B) each carbon or blind copy;
(C) the document’s date, subject matter, number of pages and
attachments or appendices;
(D) all persons to whom the document was distributed, shown or
explained;

(2)_the date, manner_and reason-if- destruction-or-discard-and

(F) _ the person(s) who authorized or permitted such destruction or
discard.

6. For any document withheld on the basis of an objection based upon
the Oklahoma Rules of Civil Produce, or other discovery objection, the Defendant
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is instructed to produce the withheld records consistent with its obligation under
the Oklahoma Open Records Act.

7. Objections to any request must be stated with specificity. The
specificity of the objection must state whether any responsive materials are being
withheld on the basis of that objection. An objection may state that a request is
overbroad, but if the objection recognizes that some part of the request is
appropriate the objection must state the scope that is not overbroad. Examples
would be a statement that the Defendant will limit the search to documents or
electronically stored information created within a given period of time prior to the
events in suit, or to specified sources. When there is such an objection, the
statement of what has been withheld must identify as matters “withheld” anything
beyond the scope of the search specificd in the objection.

8. An objection must state whether anything is being withheld on the
basis of the objection. The Defendant does not need to provide a detailed
description or log of all documents withheld, but it does need to alert Plaintiff to
the fact that documents have been withheld and thereby facilitate an informed
discussion of the objection. An objection that states the limits that have controlled
the search for responsive and relevant materials qualifies as a statement that the
materials have been “withheld.”

Definitions
For the purposes of these Document Requests:

1. “Documents” shall refer to any and all writings or recorded
materials, of any kind whatsoever, that are or have been in the possession, custody
or control of the Defendant, or of which Defendant has knowledge, whether
originals or copies, including but not limited to contracts, correspondence,
memoranda, notes, rough drafts, diaries, calendars, summaries, books, interoffice
and intraoffice communications, notations of any sort of conversations, logs,
forms, bank statements, tax returns, card files, books of account, journals, ledgers,
written agreements, bulletins, computer printouts, telefax, invoices, blueprints,
diagrams, drawings, worksheets; all drafts, alterations, modifications, changes, and
amendments of any of the foregoing; graphic or oral records or representations of

any._kind (including, but without limitation,_tapes,—cassettes,_videacassettes,
photographs, discs, recordings, and computer memories); or other written or
printed recorded matter or tangible things on which words, phrases, symbols, or
information are affixed.

This definition includes electronically stored information (hereinafter
“ESI”’), which should be afforded the broadest possible meaning and includes (by

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way of example and not as an exclusive list) potentially relevant information
electronically, magnetically, optically or otherwise stored as:

° Digital communications (e.g. email, voice mail, instant
messaging);

° E-mail servers (e.g. Lotus Domino, NSF or Microsoft
Exchange, EDB);

° Word processed documents (e.g. Word or WordPerfect files
and drafts in native format);

° Spreadsheets and tables (e.g. Excel or Lotus 123 worksheets);

° Accounting Application Data (e.g., QuickBooks, Money,
Peachtree data);

° Image and Facsimile Files (e.g. .pdf, .tiff, .jpeg .gif images);

. Sound Recordings (e.g. .avi, .wav and .mp3 files);

° Video and Animation (e.g. .avi, and .mov files);

° Databases (e.g. Access, Oracle, SQL Server data, sap);

. Contact and Relationship Management data (e.g. Outlook,
ACT});

° Calendar & Diary Application Data (e.g. Outlook, PST, blog
entries);

° Online Access data (e.g. Temporary Internet Files, History,
Cookies);

° Presentations (e.g. PowerPoint, Core] Presentations);

. Network Access and Server Activity Logs;

. Project Management Application Data;
° Computer Aided Design/Drawing Files; and
° Backup and Archival Files (e.g. Veritas, zip and Gho)

2. “Plaintiff” includes the Plaintiff in the above-caption action, to
include any person represented by the Plaintiff in connection with this action as a
Next Friend, Special Administrator, or otherwise as context requires, Plaintiff's
counsel and all agents, servants, employees, representatives, and others who may
have communicated with you on Plaintiff's behalf.

3. “You,” “your,” “Defendant,” shall refer to Defendant to whom
these Interrogatories are directed, Defendant’s successors, assigns and all other

names by which Defendant at any time has done business or been _known,and-to

Defendant’s agents, officers, shareholders, board members, trustees, employees, or
other representatives, including but not limited to negotiators, investigators,
brokers, servants, attorneys or accountants, and others who may have
communicated or obtained information for Defendant or on your behalf. This
term is used both singularly and collectively as the context requires.
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4, The word “person” or “persons” shall refer to all individuals and
entities, including without limitation all natural persons, individuals, sole
proprietorships, associations, companies, partnerships, limited partnership, joint
ventures, corporations, trusts, and estates.

5. “In full detail” means to set out in the fullest detail possible all
knowledge or information available to Defendant on the subject.

6. “Issues in this action” mcans any factual issues which are raised in
the pleadings in the above captioned action, including any complaint or answer,
any motion and/or any amendments of the pleadings filed in the above captioned
action.

7. “Relates” or “relating” as used herein mean supports, proves,
evidences, describes, is associated with, provides background for, explains, or
tends to contradict, where appropriate to the context.

8. “Identify” with reference to a person means to furnish information
sufficient to enable Plaintiff to identify and locate the person, including to the
extent the information is available to you, the full name and present or last known
home address, e-mail address, and phone number, and business address, e-mail
address, and phone number of the person, together with the partnership, firm,
association, corporation or other business, government or legal entity by whom
said person is employed or with whom he is affiliated in his position therein.

9. “Identify” with reference to a communication means to give the date
or best-known date of the communication, the form of the communication (e.g. in
person, telephone, electronic mail, letter), the date of communication, and the
content of the communication, and to identify (see prior instruction) all parties
making or receiving the communication.

10. For any word or phrase not otherwise defined herein, Defendant is
instructed to apply a reasoned common-sense definition to guide its response. See
Pulsecard, Inc. v. Discover Card Servs., Inc., 168 F.R.D. 295, 310 (D. Kan. 1996).
(A party responding to discovery requests “should exercise reason and common
sense to attribute ordinary definitions to terms and phrases utilized in

interrogatories”) To the exient Defendant is still unable to provide_a response,
oe T

Defendant is instructed to use the most recent definition provided by the online
version of dictionary.com.

11. | The singular includes the plural and the plural includes the singular
where appropriate to the sense of the request.
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DOCUMENT REQUESTS

REQUEST NO. 1: Any policy of insurance or indemnity agreement,

reinsurance, excess coverage, or errors and omissions policies that may provide
coverage for the claims raised in the lawsuit, to include individual and umbrella
policies maintained by you to include any homeowner’s policies, or coverage
extended through any type of membership in any program or purchase of any plan
or agreement that may provide coverage for personal liability claims.

REQUEST NO. 2: Each Document Defendant may use in defense of this

matter, including but not limited to documents listed in disclosures by any
Defendant, any document listed in any exhibit list, and any document referenced
or relied upon in responding to any Interrogatory, Request for Admission, or
Document Request.

REQUEST NO. 3: Documents which refer, relate or touch upon any

investigation in any way connected to the claims or defenses asserted in the
pleadings filed in this case.

REQUEST NO. 4: Documents, including but not limited to statements,

affidavits, emails, text messages, and recordings, including audio or video,

reflecting any image, statement, assertion, contention, or discussions, involving

the claims or defenses asserted in the pleadings filed in this case

REQUEST NO. 5: Documents relied upon by any expert witness retained

by the Defendant to provide testimony at the trial of this matter.

REQUEST NO. 6: With respect to any expert witness retained by the

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Defendant, provide a copy of the expert’s most recent CV.

REQUEST NO. 7: Records, reports, or documents of any kind relating in

any way to, or identifying the Plaintiff's decedent by name or image that are not
otherwise included in any of the above requests.

REQUEST NO. 8: Policies, memos, guidelines (however characterized)

governing medical and chronic care services provided at the David L. Moss
Criminal Justice Center in September 2016.

REQUEST NO. 9: For the three years preceding the incident through

present, records identifying Turn Key’s revenue and expenses at the David. L.
Criminal Justice Center, along with records identifying Turn Key’s gross profits
from all revenue sources for the last 3 years.

REQUEST NO. 10: For the three years preceding the incident

through present, audits, quality assurance reports, or other analysis or evaluation
(however characterized) regarding the medical and chronic care services Turn Key
provided at the David L. Moss Criminal Justice Center.

REQUEST NO. 11: Documents regarding each Turn Key employee

or contractor that interacted with Tashayna King in September 2016 that address

the following subjects: (1) resume, application, contract, or hiring documents; (2)

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write-ups, investigations, or grievances; (5) separation records; and (6) incentive
pay or bonus opportunities.

REQUEST NO. 12: Contracts, agreements, policies, formulary

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records, and other documents that memorialize Turn Key’s chronic care practices
at the David L. Moss Criminal Justice Center in September 2016 from admission
to discharge.

REQUEST NO. 13: For the five years preceding the incident to the

present, documents identifying each occasion where Turn Key was accused of
improper care in relation to the management of a chronic medical condition.

REQUEST NO. 14: Produce any medical administration log for

Plaintiff.

REQUEST NO. 15: Produce any Internal Clinic Referral Form for

Plaintiff arising from her detention at the David L. Moss Criminal Justice Center.

REQUEST NO. 16: For each encounter between you and Plaintiff,

produce the Nursing Assessment Protocol.

REQUEST NO. 17: In September and October of 2016, produce any

policy, guidance, training, or standards to address when you would triage requests
submitted to determine if the request involved a need for emergent health care as

opposed to non-emergent care.

REQUEST NO. 18: Produce each Specialty Services Request Form

and approval related to the September 2016 detention of Plaintiff.

September 2017 detention of Plaintiff.

REQUEST NO. 20: Produce any individualized treatment plan for

Plaintiff involving her September 2016 detention.

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Respectfully submitted,

BRYAN & TERRILL

s/J. Spencer Bryan
J. Spencer Bryan, OBA # 19419
Steven J. Terrill, OBA # 20869
BRYAN & TERRILL LAW, PLLC
9 E. 4th St., Suite 307
Tulsa, OK 74103
Tele: (918) 935-2777
Fax: (918) 935-2778
isbryan@bryanterrill.com
Attorneys for Plaintiff

CERTIFICATE OF SERVICE

I hereby certify that on January 14, 2019 I served the foregoing on the
following persons:

Vic Reglado, in his Official Capacity as Sheriff of Tulsa County
c/o Tulsa Co. Sheriffs Office

303 W Ist St

Tulsa, OK 74103

Turn Key Health Clinics, LLC

c/o Jesse White, Registered Agent
19 NE 50th Street
Oklahoma City, OK 73105

Board of County Commissioners for the County of Tulsa
c/o Michael Willis, Tulsa Co. Clerk
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OKLAHOMA

State Courts Network

The information on this page is NOT an official record. Do not rely on the correctness or completeness of this information.
Verify all information with the official record keeper. The information contained in this report is provided in compliance with the

Oklahoma Open Records Act, 51 O0.S. 24A.1. Use of this information is governed by this act, as well as other applicable state
and federal laws.

IN THE DISTRICT COURT IN AND FOR TULSA COUNTY, OKLAHOMA

TASHAYNA KING,
Plaintiff,

Vv. No. CJ-2018-3245

TULSA COUNTY BOARD OF COMMISSIONERS, (Civil relief more than $10,000: NEGLIGENCE
Defendant, and (GENERAL))

VIC REGALADO

TULSA COUNTY SHERIFF, Filed: 08/03/2018

Defendant, and
TURN KEY HEALTH CLINICS LLC,

Defendant, and Judge: Nightingale, Rebecca B.
JOHN DOES 1-10

Defendant.

PARTIES

KING, TASHAYNA, Plaintiff

TULSA COUNTY BOARD OF COMMISSIONERS, Defendant
TULSA COUNTY SHERIFF, Defendant

TURN KEY HEALTH CLINICS LLC, Defendant

ATTORNEYS
Attorney Represented Parties
BRYAN, J SPENCER (Bar #19419) KING, TASHAYNA

BRYAN & TERRILL LAW PLLC
9 EAST 4TH ST., SUITE 600
TULSA, OK 74103

EVENTS

None

ISSUES

For cases filed before 1/1/2000, ancillary issues may not appear except in the docket. EXH l BI T F
Issue # fase 4: FERS RESP IGENCE TGENCRALT NEGLI? in USDC ND/OK on 01/30/19 Page 63 of 65

DOCKET

Date Code Description

08-03-2018 TEXT CIVIL RELIEF MORE THAN $10,000 INITIAL FILING.

08-03-2018 NEGL NEGLIGENCE (GENERAL)

08-03-2018 DMFE DISPUTE MEDIATION FEE

08-03-2018 PFE1 PETITION
Document Available (41040337245) E\TIFF [A)PDF

08-03-2018 PFE7 LAW LIBRARY FEE

08-03-2018 OCISR OKLAHOMA COURT INFORMATION SYSTEM REVOLVING FUND

08-03-2018 OCJC OKLAHOMA COUNCIL ON JUDICIAL COMPLAINTS REVOLVING
FUND

08-03-2018 OCASA OKLAHOMA COURT APPOINTED SPECIAL ADVOCATES

08-03-2018 SSFCHSCPC SHERIFF'S SERVICE FEE FOR COURTHOUSE SECURITY PER
BOARD OF COUNTY COMMISSIONER

08-03-2018 CCADMINCSF COURT CLERK ADMINISTRATIVE FEE ON COURTHOUSE
SECURITY PER BOARD OF COUNTY COMMISSIONER

08-03-2018 CCADMINO155 COURT CLERK ADMINISTRATIVE FEE ON $1.55 COLLECTION

08-03-2018 SJFIS STATE JUDICIAL REVOLVING FUND - INTERPRETER AND
TRANSLATOR SERVICES

08-03-2018 DCADMIN155 DISTRICT COURT ADMINISTRATIVE FEE ON $1.55

08-03-2018
08-03-2018

08-03-2018
08-03-2018
08-03-2018
08-03-2018

Filed By: KING, TASHAYNA
Filed Date: 08/03/2018

Party Name Disposition Information

Defendant:
TULSA COUNTY BOARD OF COMMISSIONERS

Defendant: TULSA COUNTY SHERIFF
Defendant; TURN KEY HEALTH CLINICS LLC

COLLECTIONS
DCADMINOS DISTRICT COURT ADMINISTRATIVE FEE ON $5 COLLECTIONS

DCADMINCSF DISTRICT COURT ADMINISTRATIVE FEE ON COURTHOUSE
SECURITY PER BOARD OF COUNTY COMMISSIONER

CCADMINO4 COURT CLERK ADMINISTRATIVE FEE ON COLLECTIONS

LTF LENGTHY TRIAL FUND
SMF SUMMONS FEE (CLERKS FEE)
SMIMA SUMMONS ISSUED - MAILED BY ATTORNEY

Count Party Amount
1

$ 7.00
$ 163.00

$ 6.00
$ 25.00
$ 1.55

$ 5.00
$ 10.00

$ 1.00

$ 0.16
$ 0.45

$ 0.23

$ 0.75
$ 1.50

$ 0.50
$ 10.00
$ 10.00
Date Case gid 9-Cv-OO0R Udon Document 2 Filed in USDC ND/OK on 01/30/19 coaGe at) ORmount

08-03-2018 TEXT

08-03-2018 ACCOUNT

08-10-2018 SMF
08-10-2018 SMIMA
08-10-2018 ADJUST
08-10-2018 ACCOUNT

08-10-2018 ACCOUNT

01-30-2019 CTFREE

OCIS HAS AUTOMATICALLY ASSIGNED JUDGE NIGHTINGALE,
REBECCA B. TO THIS CASE.

RECEIPT # 2018-3806006 ON 08/03/2018.

PAYOR: BRYAN & TERRILL LAW PLLC TOTAL AMOUNT PAID: $
242.14.

LINE ITEMS:

CJ-2018-3245: $173.00 ON ACO1 CLERK FEES.

CJ-2018-3245: $6.00 ON AC23 LAW LIBRARY FEE CIVIL AND
CRIMINAL.

CJ-2018-3245: $1.66 ON AC31 COURT CLERK REVOLVING FUND.
CJ-2018-3245: $5.00 ON AC58 OKLAHOMA COURT APPOINTED
SPECIAL ADVOCATES.

CJ-2018-3245: $1.55 ON AC59 COUNCIL ON JUDICIAL
COMPLAINTS REVOLVING FUND.

CJ-2018-3245: $7.00 ON AC64 DISPUTE MEDIATION FEES CIVIL
ONLY.

CJ-2018-3245: $0.45 ON AC65 STATE JUDICIAL REVOLVING
FUND, INTERPRETER SVCS.

CJ-2018-3245: $2.48 ON AC67 DISTRICT COURT REVOLVING
FUND.

CJ-2018-3245: $25.00 ON AC79 OCIS REVOLVING FUND.
CJ-2018-3245: $10.00 ON AC81 LENGTHY TRIAL FUND.
CJ-2018-3245: $10.00 ON AC88 SHERIFF'S SERVICE FEE FOR
COURT HOUSE SECURITY.

SUMMONS FEE-2
SUMMONS ISSUED - MAILED BY ATTORNEY
ADJUSTING ENTRY: MONIES DUE TO ACO9-CARD ALLOCATION

ADJUSTING ENTRY: MONIES DUE TO THE FOLLOWING
AGENCIES REDUCED BY THE FOLLOWING AMOUNTS:
CJ-2018-3245: ACO1 CLERK FEES -$0.50

RECEIPT # 2018-3809559 ON 08/10/2018.

PAYOR: TERRILL/STEVEN TOTAL AMOUNT PAID: $ 20.00.
LINE ITEMS:

CJ-2018-3245: $19.50 ON ACO1 CLERK FEES.
CJ-2018-3245: $0.50 ON ACO9 CARD ALLOCATIONS.

NIGHTINGALE, REBECCA: NOTICE OF IMPENDING DISMISSAL
FOR FAILURE TO OBTAIN SERVICE WITHIN 180 DAYS; PLAINTIFF
HAS UNTIL 2-19-19 TO OBTAIN SERVICE OR FILE AN
APPROPRIATE MOTION OR PLEADING TO SHOW GOOD CAUSE
OR THE CASE WILL BE DISMISSED; CLERK FILED THE NOTICE
AND MAILED A COPY TO SPENCER BRYAN.

$ 20.00

$ 0.50
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http:/Awww.oscn.net/dockets/GetCaselnformation.aspx?db=tulsa&number=CJ-2018-3245&cmid=3175159 4/4
